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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE


Case Number: 0:20-cv-01906-WMW-KMM

Case Title: Elisabeth Cleveland, on behalf of herself and all others similarly situated
              v. Whirlpool Corporation


                                       Affidavit of Movant

I, Raina Borrelli, an active member in good standing of the bar of the U.S. District Court for the
District of Minnesota, request that this Court admit pro hac vice Lisa A. White, an attorney
admitted to practice and currently in good standing in the U.S. District Court for (please identify
ONE specific district to which the attorney is admitted) Eastern District of Tennessee, but not
admitted to the bar of this court, who will be counsel for the X plaintiff, Elisabeth Cleveland in
the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

 X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

     I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the case
listed above, and accept service of all papers served as required by LR 83.5(d) should my motion
for a non-resident to serve as local counsel be granted by the court (sign and complete information
below and attach a completed Motion for Permission for a Non-Resident to Serve as Local
Counsel).

       Signature: /s/ Raina C. Borrelli                      Date: 9/11/2020

       MN Attorney License #: 392127




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                                 Affidavit of Proposed Admittee


I, Lisa A. White, am currently a member in good standing of the U.S. District Court for the (please
identify ONE specific district to which you are admitted) Eastern District of Tennessee, but am
not admitted to the bar of this court. I understand that if this Court grants me admission pro hac
vice, the moving attorney identified in this motion must participate in the preparation and
presentation of the case listed above, and must accept service of all papers served as required by
LR 83.5(d). I further understand that the District of Minnesota is an electronic court and that I will
receive service as required by Fed. R. Civ. P. 5(b) and 77(d) by electronic means and I understand
that electronic notice will be in lieu of service by mail.

Signature:                                            Date: 9/11/2020

Typed Name: Lisa A. White

Attorney License Number: 026658 issued by the State of Tennessee

Federal Bar Number (if you have one):

Law Firm Name: Greg Coleman Law PC

Law Firm Address: 800 S. Gay Street, Suite 1100

                    Knoxville, TN 37929


Main phone: (865) 247-0080          Direct line: (865) 243-3495

E-mail address: lisa@gregcolemanlaw.com




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